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UNITED STATES DISTRICT COURT

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SOUTHERN DISTRICT OF NEW YORK lula 4 2029
x
HECTOR ROSARIO, nee eS OF on
Plaintiff, SOUTHERN OkGrkoLW Wehuvaa5 (VB)
~against- JUDGMENT

VILLAGE OF SLEEPY HOLLOW.

Defendant. x [o CV UY C (v G

 

It is hereby ORDERED, ADJUDGED AND DECREED: That after a Jury

Trial before the Honorable Vincent L. Briccetti, United States District Judge, Plaintiff Hector
Rosario have judgment in the sum of $250,000.00 for compensatory damages as against the

defendant.

DATED: New York, New York
October 9 | , 2020

RUBY J. KRAJICK

 

 

 

So Ordered: Clerk of Court
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